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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

VANESSA GREEN, ET AL.                                CIVIL ACTION NO. 14-0790

VERSUS                                                JUDGE ROBERT G. JAMES

CORNERSTONE HOSPITAL OF                               MAG. JUDGE KAREN L. HAYES
WEST MONROE, LLC



                                            ORDER

       The Court having been advised by counsel that the above civil action has been settled,

       IT IS HEREBY ORDERED that the Clerk of Court administratively terminate this

action, without prejudice to the right of the parties to re-open the proceedings. All pending

motions are denied as moot.

       IT IS FURTHER ORDERED that, within sixty (60) days of the date this Order is entered,

the parties submit to the Court a Joint Stipulation of Dismissal signed by all parties who have

appeared in this action, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

       MONROE, LOUISIANA, this 8th day of July, 2014.
